Case 4:93-cr-40050-JPG           Document 161        Filed 12/07/09       Page 1 of 2      Page ID #47




                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                                   Case No. 93-cr-40050-JPG

DAVID REED,

                Defendant.

                                  MEMORANDUM AND ORDER

         This matter comes before the Court on defendant David Reed’s motion for a free copy of

 his trial transcript so that he may investigate, research and prepare a motion pursuant to 28

 U.S.C. § 2255 involving Sixth Amendment rights (Doc. 160). The court reporter has prepared

 transcripts of Reed’s trial in connection with his direct appeal of his conviction.

         Defendants have no constitutional right to a complimentary copy of any document in

 their court files. See United States v. Groce, 838 F. Supp. 411, 413, 414 (E.D. Wis. 1993).

 Before providing copies free of charge, a district court may require the requestor to show: (1)

 that he has exhausted all other means of access to his files (i.e., through his trial and appellate

 counsel), (2) that he is financially unable to secure access to his court files (i.e., through a

 showing similar to that required in 28 U.S.C. § 1915(a)(2) which includes a certified copy of the

 prisoner’s trust account for the previous six-month period prior to filing), and (3) that the

 documents requested are necessary for the preparation of some specific non-frivolous court

 action. See United States v. Wilkinson, 618 F.2d 1215, 1218-19 (7th Cir. 1980); Rush v. United

 States, 559 F.2d 455, 459 (7th Cir. 1977); Groce, 838 F. Supp. at 413-14. These minimal

 requirements do not impose any substantial burden to financially unable prisoners who desire

 their records be sent to them at government expense.
Case 4:93-cr-40050-JPG         Document 161           Filed 12/07/09    Page 2 of 2      Page ID #48




        Reed has not shown he has exhausted his other means of obtaining the transcript of his

 trial, nor has he shown he is financially unable to pay for a copy of his transcript from the court

 reporter. More importantly, he has not demonstrated the transcript is necessary for a non-

 frivolous court action. The Court is suspect of his assertion that he needs the transcript to

 prepare a § 2255 motion. Reed has already filed such a motion (Case No. 01-cv-4135-JPG) and

 an unauthorized second motion (Docs 149 & 150 in this case). Reed has not explained what

 arguments he would advance in a successive petition so that the Court could determine that they

 were not frivolous and that the Seventh Circuit Court of Appeals would be likely to grant

 permission to advance them in a successive petition. In the absence of such information, the

 Court cannot say that the transcript is necessary.

        For the foregoing reasons, the Court DENIES Reed’s motion for a free copy of his trial

 transcript (Doc. 160).

 IT IS SO ORDERED.
 DATED: December 7, 2009

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE




                                                  2
